                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF IOWA


  IOWA PORK PRODUCERS                                                            CASE NO. 3:21-cv-03018-CJW-MAR
  ASSOCIATION, LINN VALLEY PIGS,
  LLP, TWIN PRAIRIE PORK, LLC, and
  NEW GENERATION PORK, INC.,

          Plaintiffs,

  v.                                                                        DEFENDANTS’ MEMORANDUM OF
                                                                              POINTS AND AUTHORITIES IN
                                                                            SUPPORT OF MOTION TO DISMISS
  ROB BONTA, in his official capacity as                                    PLAINTIFFS’ AMENDED PETITION
  Attorney General of California, KAREN
  ROSS, in her official capacity as Secretary of                                  [Fed. R. Civ. P. 12(b)(1), (2), (3)]
  the California Department of Food and
  Agriculture, and TOMAS ARAGON, in his
  official capacity as Director of the California
  Department of Public Health,

          Defendants.


                                                  TABLE OF CONTENTS

INTRODUCTION.......................................................................................................................... 1

BACKGROUND .............................................................................................................................2
          I.         Proposition 12 ..........................................................................................................2

          II.        Previously Filed and Pending Proposition 12 Litigation .......................................... 3

          III.       The Amended Petition .............................................................................................4

                     A.         Parties, Venue, and Causes of Action ..........................................................4

                     B.         Proposition 12’s Alleged Effects .................................................................. 5

                                1.         Effects on Plaintiffs .......................................................................... 5

                                2.         Effects on Others .............................................................................6

                     C.         Allegations that Proposition 12 Targeted Out-of-State Activity..................6




       Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 1 of 28
ARGUMENT .................................................................................................................................. 7

          I.         Sovereign Immunity Precludes an Iowa Court From Hearing this Matter
                     Because Defendants Are the State of California. ..................................................... 7

          II.        Iowa Courts Lack Personal Jurisdiction Over Defendants Because No
                     Jurisdictional Contacts Can Be Shown and Because It Is Neither Fair Nor
                     Convenient For California To Be Haled Into Iowa Court ..................................... 10

                     A.         Legal Standard—Personal Jurisdiction ...................................................... 10

                     B.         Plaintiffs Cannot Establish Defendants Have the Requisite
                                Minimum Contacts with Iowa or That Exercise of Personal
                                Jurisdiction Otherwise Comports with Due Process ................................. 11

                                1.         The Court Lacks General Jurisdiction Over Defendants .............. 12
                                2.         The Court Lacks Specific Jurisdiction Over Defendants .............. 12

                                           a.         The Eight Circuit’s primary three factors weigh
                                                      against a finding of personal jurisdiction ............................ 12

                                                      (1)        The analysis of direct contacts weighs
                                                                 against a finding of personal jurisdiction ................ 12

                                                      (2)        The Supreme Court’s “Effects Test”
                                                                 weighs against a finding of personal
                                                                 jurisdiction ............................................................. 13

                                           b.         The Eighth Circuit’s final two factors do not
                                                      support a finding of personal jurisdiction .......................... 16

          III.       Venue Is Improper In Iowa and the Case Should Be Dismissed; In the
                     Alternative, the Case Should Be Transferred to California or Stayed
                     Pending Resolution of the Duplicative, Earlier-Filed Cases .................................. 17

                     A.         Convenience of Parties Weighs in Favor of Transfer ................................ 18

                     B.         Interests of Justice Weigh in Favor of Transfer ......................................... 18

                     C.         In the Alternative, the Case Should be Stayed Pending Resolution
                                of Related, Pending Litigation in California ............................................... 19

          CONCLUSION ................................................................................................................ 20




                                                                     ii

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 2 of 28
                                               TABLE OF AUTHORITIES

CASES

Am. Littoral Soc. v. E.P.A.
  943 F. Supp. 548 (E.D. Pa. 1996) ....................................................................................... 18, 19

Atl. Marine Const. Co., Inc. v. U.S. Dist. Court for W. Dist. of Tex.
    134 S. Ct. 568 (2013) ................................................................................................................ 17

B&G Products Co. v. Vacco
  No. Civ. 98-2436 ADM/RLE, 1999 WL 33592887 (D. Minn. Feb. 19, 1999) ......................... 14

Bell Paper Box, Inc. v. Trans W. Polymers, Inc.
    53 F.3d 920 (8th Cir. 1995) ...................................................................................................... 13

Burger King Corp. v. Rudzewicz
   471 U.S. 462 (1985) ............................................................................................................. 11, 12

Burlington Indus., Inc. v. Maples Indus., Inc.
   97 F.3d 1100 (8th Cir. 1996) ..................................................................................................... 10

Calder v. Jones
   465 U.S. 783 (1984) .............................................................................................................13, 14

Church v. Missouri
   913 F.3d 736 (8th Cir. 2019) ...................................................................................................8, 9

Daimler AG v. Bauman
   134 S. Ct. 746 (2014) ................................................................................................................ 12

Dakota Indus., Inc. v. Dakota Sportswear, Inc.
   946 F.2d 1384 (8th Cir. 1991) ............................................................................................. 12, 14

Dever v. Hentzen Coatings, Inc.
   380 F.3d 1070 (8th Cir. 2004)............................................................................................ 10, 12

Ecclesiastical Order of the Ism of Am, Inc. v. Chasin
    845 F.2d 113 (6th Cir. 1988) ..................................................................................................... 10

Fitts v. McGhee
    172 U.S. 516 (1899) ....................................................................................................................8

Gary W. Clem, Inc. v. Seed Research Equip. Sols., Inc.
   No. 4:09-cv-00357-JAJ, 2010 WL 11509069 (S.D. Iowa Jul. 6, 2010) ..................................... 19



                                                                    iii

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 3 of 28
Guinness Import Co. v. Mark VII Distribs., Inc.
   153 F.3d 607 (8th Cir. 1998) ..................................................................................................... 12

Helicopteros Nacionales de Colombia v. Hall
   466 U.S. 408 (1984) ................................................................................................................. 11

Hicks v. Assistant Atty. Gen. of Colo.
   No. 08-0362-CV-W-FJG, 2010 WL 5067611 (W.D. Mo. Dec. 6, 2010) .................................. 14

Honkamp Krueger Fin. Servs., Inc. v. Fulton
   No. C20-1018-LTS, 2020 WL 8225446 (N.D. Iowa, June 5, 2020) .................................. 19, 20

Jobe v. ATR Mktg., Inc.
   87 F.3d 751 (5th Cir. 1996) ....................................................................................................... 16

Johnson v. Arden
   614 F.3d 785 (8th Cir. 2010) ...............................................................................................13, 14

L.A. Cty. Bar Ass’n v. Eu
   979 F.2d 697 (9th Cir. 1992) ......................................................................................................8

Land–O–Nod Co. v. Bassett Furniture Indus.
   708 F.2d 1338 (8th Cir. 1983) ................................................................................................... 12

Leroy v. Great Western United Corp.
   443 U.S. 173 (1979) ....................................................................................................... 17, 18, 19

Lindgren v. GDT, LLC
   312 F. Supp. 2d 1125 (S.D. Iowa 2004) .................................................................................... 13

Lujan v. Def. of Wildlife
   504 U.S. 555 (1992) .............................................................................................................. 9, 10

McCabe v. Basham
  450 F. Supp. 2d 916 (N.D. Iowa 2006) .................................................................................... 15

Missouri ex. rel. Koster v. Harris
   847 F.3d 646 (9th Cir. 2017) ...................................................................................................... 3

Missouri v. California
   139 S. Ct. 859 (2019) .................................................................................................................. 3

N. Am. Meat Inst. v. Becerra
   420 F. Supp. 3d 1014 (C.D. Cal. 2019) ......................................................................................4

N. Am. Meat Inst. v. Becerra
   825 F. App’x. 518 (9th Cir. 2020).......................................................................................... 3, 4

                                                                     iv

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 4 of 28
Nat’l Pork Producers Council v. Ross
   456 F. Supp. 3d 1201 (S.D. Cal. 2020), appeal docketed (9th Cir. filed June 17,
   2020) .......................................................................................................................................... 3

Nat’l Pork Producers Council v. Ross
   No. 20-55631 (9th Cir. filed Jun. 17, 2020) ................................................................................ 3

Okpalobi v. Foster
   244 F.3d 405 (8th Cir. 2001) .....................................................................................................8

Omaha Tribe of Nebraska v. Barnett
  245 F. Supp. 2d 1049 (D. Neb. 2003) ...................................................................................... 17

Orthmann v. Apple River Campground, Inc.
   765 F.2d 119 (8th Cir. 1985) .................................................................................................... 20

Pennhurst State Sch. & Hosp. v. Halderman
   465 U.S. 89 (1984) .....................................................................................................................8

PTI, Inc. v. Philip Morris Inc.
   100 F. Supp. 2d 1179 (C.D. Cal. 2000) ................................................................................... 17

Quern v. Jordan
   440 U.S. 332 (1979) ....................................................................................................................8

Second Amendment Found. v. U.S. Conference of Mayors
    274 F.3d 521 (D.C. Cir. 2001) .................................................................................................. 10

Seminole Tribe of Fl. v. Florida
   517 U.S. 44 (1996) ......................................................................................................................8

Signature Holding Co. v. City of Kimberling City, Missouri
    3:10-cv-00129, 2011 WL 13119100 (S.D. Iowa Mar. 3, 2011) ................................................... 16

Simon Fire Equip. & Repair, Inc. v. Town of Cloverdale, Indiana
   No. C05-1051-LRR, 2006 WL 156740 (N.D. Iowa Jan. 20, 2006) .....................................17, 18

Sioux Pharm. Inc. v. Summit Nutritionals Int’l
    859 N.E.2d 182 (Iowa 2015) ..................................................................................................... 11

Soo Line R.R. Co. v. Hawker Siddeley Can., Inc.
    950 F.2d 526 (8th Cir. 1991) .................................................................................................... 13

Stewart v. North Carolina
   393 F.3d 484 (4th Cir. 2005) ......................................................................................................8



                                                                         v

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 5 of 28
Stroman Realty, Inc. v. Wercinski
    513 F.3d 476 (5th Cir. 2008) ......................................................................................... 14, 15, 16

Summers v. Earth Island Inst.
   555 U.S. 488 (2009) ...................................................................................................................9

Summit Med. Assocs. P.C. v. Pryor
   180 F.3d 1326 (11th Cir. 1999)....................................................................................................8

Terra Int’l, Inc. v. Mississippi Chem. Corp.
   119 F.3d 688 (8th Cir. 1997) ............................................................................................... 18, 19

Van Dusen v. Barrack
   376 U.S. 612 (1964) .................................................................................................................. 17

Wells Fargo Fin. Leasing, Inc. v. Orlando Magic Ltd.
   431 F. Supp. 2d 955 (S.D. Iowa 2006) ..................................................................................... 18

Will v. Mich. Dep’t of State Police
   491 U.S. 58 (1989) .................................................................................................................... 11

Ex parte Young
    209 U.S. 123 (1908) ....................................................................................................................8

STATUTES

United States Code, Title 28
   § 1404 ....................................................................................................................................... 17
   § 1404(a) .................................................................................................................................. 17

United States Code, Title 42
   § 1983 .........................................................................................................................................8
   § 1988 ......................................................................................................................................... 5

California Government Code
   § 900.6 .......................................................................................................................................8

California Health and Safety Code
   §§ 25990-25991 .......................................................................................................................... 1
   §§ 25990-25993 ..........................................................................................................................2
   § 25991 ....................................................................................................................................... 1
   § 25993 .......................................................................................................................................9
   § 25993(b) ..................................................................................................................................2
   § 25993.1 ....................................................................................................................................2
   § 25996 ....................................................................................................................................... 3



                                                                        vi

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 6 of 28
Iowa Code
   § 617.3 .................................................................................................................................. 4, 11

COURT RULES

Federal Rules of Civil Procedure
   Rule 4(k)(1)(A) ........................................................................................................................ 10
   Rule 12........................................................................................................................................ 1
   Rule 12(b)(1) .............................................................................................................................. 7
   Rule 12(b)(2) ........................................................................................................................ 7, 10
   Rule 12(b)(3) .............................................................................................................................. 7




                                                                       vii

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 7 of 28
                                        INTRODUCTION
      Plaintiffs Iowa Pork Producers Association (“IPPA”) and three of IPPA’s members filed this

constitutional challenge to California’s Proposition 12 in Iowa state court. Proposition 12, an

amendment to the Prevention of Cruelty to Farm Animals Act, was an initiative adopted by a

majority of the California electorate in the 2018 General Election. The Act provides that all whole

pork meat sold in California, whether it originates in California or elsewhere, must come from

breeding sows who have not been “confined in a cruel manner,” as defined in the statute. See Cal.

Health & Safety Code, §§ 25990-25991 (Prop. 2, § 3, approved Nov. 4, 2008, operative Jan. 1,

2015, amended by Prop. 12, § 3, approved Nov. 6, 2018, eff. Dec. 19, 2018). Additionally, breeding

sows housed in California must not be “confined in a cruel manner.” Id. The current definition
of cruel confinement has been in effect since 2018, but after December 31, 2021, the applicable

definition of cruel confinement will require more space for the breeding sow than the currently

applicable definition. Id. § 25991.

      Three federal courts, district courts in the Southern and Central District of California and

the Court of Appeals for the Ninth Circuit, have considered the constitutionality of Proposition

12. These courts have either held or affirmed that the constitutional challenges are unlikely to

succeed on the merits. See infra Background II. The case filed in the Southern District of

California (against the same Defendants as here) was brought by the National Pork Producers

Council (“NPPC”), which consists of 42 state associations, one of which is Plaintiff IPPA, and of
which Farm Plaintiffs are members (see Defs.’ Request for Jud. Notice (“RJN”), Exhs. 1 & 2).

Undeterred, Plaintiffs here have haled Defendants—officials of the State of California—into court

in Iowa to address the same allegations.

      This case should be dismissed under Rule 12 of the Federal Rules of Civil Procedure for the

following reasons: First, California (like Iowa) is a sovereign state that may not be haled into

another state’s courts by citizens of that state, and the limited exception of Ex parte Young does not

apply here. See infra Argument I. Second, California has no jurisdictional contacts with Iowa, and
any effects of Proposition 12 on Iowan Plaintiffs do not create such contact, because Plaintiffs do


                                                  1

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 8 of 28
not and cannot allege the Act was passed specifically to harm, or otherwise targets, Iowa.

Moreover, exercise of personal jurisdiction would violate traditional notions of fair play and

substantial justice, because a state cannot be expected to be haled into court anywhere in the nation

simply because it enacts regulatory legislation. See infra Argument II. Third, venue in this Court

is improper because the Court lacks subject matter and personal jurisdiction over Defendants. The

case should be dismissed on that basis. In the alternative, because Plaintiff IPPA, through the

national organization NPPC consisting of it and its sister associations, has already sued Defendants

in the Southern District of California to overturn Proposition 12, this Court should exercise its
discretion to transfer to the case to the California court. Finally, if not dismissed or transferred,

the case should be stayed pending the outcome of the other federal cases. See infra Argument III.

                                        BACKGROUND
I.    PROPOSITION 12
      In November 2018, California voters passed Proposition 12, the Prevention of Cruelty to

Farm Animals Act. Prop. 12, § 2, as approved by voters, Gen. Elec. (Nov. 6, 2018), text located at

https://vig.cdn.sos.ca.gov/2018/general/pdf/topl.pdf#prop12, pp. 87-90 (Cal. General Election

Nov. 6, 2018, “Text of Proposed Laws” voter guide). Proposition 12 amended sections 25990

through 25993 of the California Health and Safety Code and added section 25993.1. Id. §§ 3-7.

Proposition 12 defined specific minimum square-feet requirements for the confinement of calves,
hens, and pigs. Id. § 4. The initiative also prohibited the sale of eggs or meat in the State of

California when the producing animal was confined in a cruel manner. Id. § 3. The penalty

provisions of Proposition 12 are as follows:

      Any person who violates any of the provisions of this chapter is guilty of a
      misdemeanor, and upon conviction thereof shall be punished by a fine not to exceed
      one thousand dollars ($1,000) or by imprisonment in the county jail for a period not to
      exceed 180 days or by both such fine and imprisonment.
Cal. Health & Safety Code § 25993(b).

      Proposition 12 was preceded by the ballot initiative Proposition 2, enacted by voters in 2008,
and by Assembly Bill No. 1437 (“AB 1437”), which the California Legislature enacted in 2010.


                                                 2

     Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 9 of 28
Proposition 2 was the original Prevention of Farm Animal Cruelty Act, and Proposition 12

strengthens its confinement standards. AB 1437 prohibited the sale in California of eggs produced

by egg-laying hens that were not confined in compliance with Proposition 2’s animal care

standards. Cal. Health & Safety Code § 25996. The penalties for violating Proposition 2 and AB

1437 are the same as for Proposition 12. A challenge to AB 1437 brought by six states under the

dormant Commerce Clause was dismissed for lack of standing. Missouri ex. rel. Koster v. Harris,

847 F.3d 646, 650 (9th Cir. 2017). A larger group of states unsuccessfully sought to initiate an

original jurisdiction action against California in the United States Supreme Court. Missouri v.
California, 139 S. Ct. 859 (2019) (mem.).

II.    PREVIOUSLY FILED AND PENDING PROPOSITION 12 LITIGATION
       Two cases challenging the constitutionality of Proposition 12 are currently pending, both
filed in California. The NPPC and the American Farm Bureau Federation filed suit in 2019

challenging Proposition 12 under the dormant Commerce Clause. Nat’l Pork Producers Council v.

Ross, 456 F. Supp. 3d 1201 (S.D. Cal. 2020), appeal docketed, No. 20-55631 (9th Cir. filed June 17,

2020). The NPPC is a collective of state associations, one of which is IPPA.1 The district court

dismissed the case with leave to amend and, when NPPC chose not to amend its complaint,

dismissed the case with prejudice. Id. at 1210. The next day, NPPC noticed its appeal, which is

pending. Nat’l Pork Producers Council v. Ross, No. 20-55631 (9th Cir. filed Jun. 17, 2020).
       An additional constitutional challenge to Proposition 12 is pending in the United States

Supreme Court on petition for a writ of certiorari to the United States Court of Appeals for the

Ninth Circuit. N. Am. Meat Inst. v. Becerra, 825 F. App’x. 518 (9th Cir. 2020), petition for cert. filed,

No. 20-1215 (U.S. Feb. 26, 2021) (challenging denial of motion for preliminary injunction).

Petitioner North American Meat Institute (“NAMI”), a trade association representing meat

packers and processors, sued Defendants in 2019 and concurrently filed a motion for preliminary


1Defendants respectfully request that this Court take judicial notice of Plaintiffs’ relationships to
NPPC. See RJN Exhs. 1 & 2. The full extent of the relationships between Plaintiffs and the various
association petitioners in the California cases is not known.
                                                   3

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 10 of 28
injunction challenging Proposition 12’s standards for veal and pork products that are sold in

California. See N. Am. Meat Inst. v. Becerra, 420 F. Supp. 3d 1014 (C.D. Cal. 2019). The district

court denied NAMI’s motion for preliminary injunction, and the Ninth Circuit affirmed. N. Am.

Meat Inst., 825 Fed. Appx. at 520.

III.    THE AMENDED PETITION

        A.    Parties, Venue, and Causes of Action
        Plaintiffs are the association IPPA, suing on behalf of itself and its members (Am. Pet. ¶ 96),

and three pork producers: Linn Valley Pigs LLP (“LVP”), Twin Prairie Pork, LLC (“TPP”), and
New Generation Pork, Inc. (“NGP”) (hereinafter, collectively, “Farm Plaintiffs”). Am. Pet. 1.

IPPA “consists of structured county associations across the state [of Iowa]…with members in

nearly every county in Iowa, including Franklin County [where the suit was originally filed].” Id.
¶ 32. All Farm Plaintiffs are “pork producers” located in Iowa who “suppl[y] pork that is sold into

California.”2 Id. ¶¶ 33-35. No Plaintiff is located in Franklin County. Ibid.; RJN Exh. 2, at p. 5

[IPPA is located in the greater Des Moines area].

        Plaintiffs contend that Defendant Bonta, the Attorney General of the State of California;

Defendant Ross, the Secretary of the California Department of Food and Agriculture (“CDFA”);

and Defendant Aragón, the Director of the California Department of Public Health (“CDPH”),

are “responsible for implementation of Proposition 12” (Am. Pet. ¶¶ 36-38) and that “acting
under color of state law, [they] have committed, and will continue to commit, multiple

constitutional torts against Plaintiffs[.]” (id. ¶¶ 108, 123, 136, 153, 164, 181). As to CDFA and

CDPH, Plaintiffs allege that they were statutorily required to promulgate regulations

implementing the Act, but have not. See, e.g., id. ¶¶ 142-43. Defendants are sued in their official

capacities only. Id. ¶¶ 36-38.

        Plaintiffs allege venue is proper in Franklin County, Iowa, under Iowa Code § 617.3, because

(1) “Defendants committed tortious actions which have or will produce injury…to property and


2   Contrary to this allegation, NGP has been administratively dissolved. See, infra, n. 5.
                                                   4

       Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 11 of 28
persons located within Franklin County, with knowledge that significant harm would be felt in

Iowa” (Am. Pet. ¶ 41) and (2) IPPA has members in Franklin County (id. ¶ 32).

      Plaintiffs seek injunctive and declaratory relief based on purported violations of United

States Constitution; specifically, they plead violations of the Commerce Clause (Count I), the Due

Process Clause (Counts II & III), the Privileges and Immunities Clause (Count IV), the Supremacy

Clause (preemption of Proposition 12 by the Packers and Stockyards Act, 7 U.S.C. § 192 et seq.)

(Count V), and the Equal Protection Clause (Count VI). Id. at 19-31. They also seek attorneys’

fees and costs pursuant to 42 U.S.C. § 1988. Id. at 31-32, ¶ 1.

      B.    Proposition 12’s Alleged Effects

            1.     Effects on Plaintiffs
      Plaintiffs allege that “Proposition 12 makes Iowa pork producers unable to sell their pork for
consumption into California unless those out-of-state pork producers comply with both

California’s Turn Around Requirements and 24 square footage restrictions on and after January 1,

2022.” Am. Pet. ¶ 18. Although Plaintiffs accurately describe Proposition 12 as “prohibit[ing] the

sale of pork meat within the state of California from animals confined in a manner inconsistent

with California’s restrictions, regardless of where in the nation the animal was raised” (id. ¶ 1),

there is no allegation that any of the Plaintiffs, or their employees, actually participate in the sale

of pork to anyone in California, or themselves ever sold pork directly “into California.”
      Plaintiffs also contend Proposition 12 “imposes confinement requirements on out-of-state

pork producers” (Am. Pet. ¶ 1), but concede that the effects are “indirect” (id. ¶ 116). The

Amended Petition further states that “[t]he vast majority of Iowa pork producers are not currently

in compliance with California’s Turn Around Requirements or 24 square foot restrictions, and the

estimated cost to come into compliance with these restrictions could reach millions of dollars for a

pork producer to comply.” Id. ¶ 20. Plaintiffs allege that “[n]ot selling to California is not an

option” because “the California market makes up 13-15% of the nation’s pork consumption

market”; as such, Proposition 12 “will impose enormous costs on Iowa pork producers” and will
“substantially interfere with commerce among the states in hogs and whole pork meat markets.”

                                                  5

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 12 of 28
Id. ¶¶ 22-23, 89; see also id. ¶¶ 83-84 (alleging Proposition 12 will require either land purchases or

“wasteful harvest of pigs”, and “likely” lead to “significant health risks and piglet loss”). Finally,

Plaintiffs contend:

      Even if producers were able to forego the California market, there would be drastic
      impacts on the nationwide pork industry and further irreparable harm to small pork
      producers. The remaining nation would need to absorb the additional supply of pork,
      which would result in a 25% reduction in farm receipts. Again, the smaller producers
      are most threatened, likely unable to sustain the losses and would be forever forced out
      of the market.
Id. ¶ 93.

      There is no allegation that any of the Farm Plaintiffs or any particular IPPA member does not

already comply with Proposition 12’s requirements, is unable to comply with them, or has suffered
any specific harm from them or from Proposition 12 as a whole. Nor is there any allegation that

Proposition 12 will be enforced outside of California.

      Although IPPA brings this suit on behalf of itself as well as its members (id. ¶ 95), IPPA does

not allege any harm to itself separate from that to its members.

            2.    Effects on Others
      In addition to the purported harms to pork producers, Plaintiffs identify various other

downstream problems allegedly created by Proposition 12’s restrictions on pork sold in California.

They contend that “criminal penalties can be assessed against both business owners and

operators who are non-compliant with Proposition 12 who choose to ‘engage in a sale’ of non-
compliant pork meat within California. Am. Pet. ¶ 19. Plaintiffs also allege that they, as pork

producers, “are faced with downstream adverse effects whereby pork packers face immediate

suspension from fulfillment of federal contracts.” Id. ¶ 28 (emphasis added). Ultimately,

they conclude, Proposition 12 will “increase[e] food costs for all Americans[.]” Id. ¶ 23.

      C.    Allegations that Proposition 12 Targeted Out-of-State Activity
      Plaintiffs allege that “Proposition 12 directly and intentionally targeted out-of-state

activity, both through the confinement requirements and by stifling interstate commerce
through the prohibition of sale of non-compliant pork meat into and within California.” Am.


                                                  6

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 13 of 28
Pet. ¶ 53. Plaintiffs point to “[m]ultiple statements by the sponsors of Proposition 12

confirm[ing] that Proposition 12 was intended to reach out-of-state production and that the

drafters and sponsors…were aware of its extra-territorial effects.” Id. ¶ 54; see also id. ¶¶ 55-

57 (regarding impacts on “out-of-state producers” generally); ¶ 58 (alleging another motive

was protecting California producers by regulating them under earlier legislation, thus giving

out-of-state producers “less, and insufficient, time to comply”). 3 Based on these general

statements showing that Proposition 12 was intended to ensure that all pork sold in

California—regardless of which state it comes from—complies with its confinement
requirements, Plaintiffs allege:

      This Court has jurisdiction over Defendants because their unconstitutional and
      tortious acts and omissions were aimed at Iowa, where a significant amount of the
      nations’ pigs for pork production are located and confined, with knowledge that
      harm will primarily be felt by Iowa pork producers and primarily impact property
      located within Iowa.
Id. ¶ 41.

                                          ARGUMENT
      This case should be dismissed on grounds of sovereign immunity pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure (see infra I.), for lack of personal jurisdiction pursuant to

Rule 12(b)(2) of the Federal Rules of Civil Procedure (see infra II.), and due to improper venue

pursuant to Rule 12(b)(3) of the Federal Rules of Civil Procedure (see infra III.). Alternatively, it
should be transferred to the Southern District of California or, at a minimum, stayed until

resolution of the earlier-filed, duplicative cases now pending in the Ninth Circuit and the Supreme

Court (see infra III.).

I.    SOVEREIGN IMMUNITY PRECLUDES AN IOWA COURT FROM HEARING                            THIS
      MATTER BECAUSE DEFENDANTS ARE THE STATE OF CALIFORNIA.

      The amended petition should be dismissed with prejudice because its claims are barred by


3 Plaintiffs allege that Iowa has 960,000 breeding pigs (Am Pet. ¶ 5), whereas California has only
8,000, of which “[o]nly approximately 1,500…are used in commercial breeding…and [those] are
situated in a handful of very small farms” (id. ¶ 12).
                                                 7

     Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 14 of 28
sovereign immunity, which generally prohibits lawsuits against states and state officers in federal

court. 4 Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984). Sovereign immunity

bars all suits against the state regardless of the relief sought, including declaratory and injunctive

relief. See id. at 101; Seminole Tribe of Fl. v. Florida, 517 U.S. 44, 58 (1996). State sovereign

immunity applies unless the state has unequivocally consented to such a suit or Congress has

abrogated the state’s immunity. See, e.g., Church v. Missouri, 913 F.3d 736, 743 (8th Cir. 2019).

Neither has happened here. A state does not waive its general sovereign immunity by removing an

action from state court to federal court. Id. at 742-43 (differentiating Eleventh Amendment
immunity, which is waived on removal); Stewart v. North Carolina, 393 F.3d 484, 490 (4th Cir.

2005) (state did not waive sovereign immunity by voluntarily removing to federal court). Nor did

Congress abrogate such immunity when it enacted 42 U.S.C. § 1983. See Quern v. Jordan, 440
U.S. 332, 341 (1979). Accordingly, Defendants are entitled to sovereign immunity unless an

exception applies. As explained below, none does.

        The Supreme Court has recognized a limited exception to Eleventh Amendment sovereign

immunity in Ex parte Young, 209 U.S. 123 (1908), which permits actions for prospective

declaratory or injunctive relief against state officers sued in their official capacities for their alleged

violations of federal law. Even assuming Ex parte Young’s exception can apply to overcome a

state’s general sovereign immunity, its requirements are not met here. For the Ex parte Young
exception to apply, the state official sued must have direct responsibility for enforcement of the

allegedly unconstitutional statute. Okpalobi v. Foster, 244 F.3d 405, 416-17 (8th Cir. 2001) (en

banc); Summit Med. Assocs. P.C. v. Pryor, 180 F.3d 1326, 1341-42 (11th Cir. 1999). General

executive responsibility or general enforcement powers are not enough. See, e.g., Church, 913 F.3d

at 748 (“Missouri Constitution’s general enforcement power” not enough); Fitts v. McGhee, 172

U.S. 516, 530 (1899) (“general executive responsibility” to “take care that the laws be faithfully

executed” not enough); L.A. Cty. Bar Ass’n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992) (“generalized


4   Under California law, Defendant officials are the “State.” Cal. Gov’t Code. § 900.6.
                                                    8

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 15 of 28
duty to enforce state law” not enough).

      Here, Plaintiffs allege, in conclusory fashion, that Defendant Attorney General Bonta “is

responsible for the enforcement of Proposition 12.” Am. Pet. ¶ 36. However, Plaintiffs have not

credibly alleged and cannot show that Defendant Bonta has any direct authority to enforce

Proposition 12. Rather, Defendant Bonta has only generalized enforcement authority under the

California Constitution, which is insufficient to invoke Ex parte Young. Church, 913 F.3d at 748.

The case should therefore be dismissed as to Defendant Bonta.

      Plaintiffs next allege, again in conclusory fashion, that Defendants Secretary of the CDFA
and Director of the CDPH are “responsible for implementation of Proposition 12.” Am. Pet.

¶¶ 37-38. It is certainly true that the statute requires these agencies to “jointly promulgate rules

and regulations for the implementation of [Proposition 12].” Cal. Health & Safety Code, § 25993.
But “promulgation” or “implementation” authority is not enforcement authority, and certainly

not the direct responsibility for enforcement Ex parte Young requires. (And, if promulgation were

the basis for the Plaintiffs’ allegations, legislative immunity would apply.) Thus, the exception of

Ex parte Young does not apply to these Defendants, and the entire case should be dismissed on

grounds of sovereign immunity.5

5 Plaintiffs also appear to lack standing, which they have the burden to establish (Lujan v. Def. of
Wildlife, 504 U.S. 555, 561 (1992)). First, Plaintiff IPPA lacks direct standing because does not
allege that it has suffered any injury as result of Proposition 12. Nor could it. IPPA is not a pork
producer, nor does it sell pork in (or into) California. Am. Pet. ¶ 32. Proposition 12’s requirements
therefore do not apply to it. Second, IPPA cannot establish associational standing, because the
amended petition does not include “specific allegations establishing that at least one identified
member has suffered or would suffer harm.” Summers v. Earth Island Inst., 555 U.S. 488, 498
(2009) (italics added). Rather, Plaintiffs allege only “[o]ne or more IPPA members has
standing[;]…[t]housands of IPPA members are directly subject to Proposition 12 because they
breed or raise pigs that are being sold into and within California;” and that “[t]he vast majority of
Iowa pork producers are currently raising pigs that do not meet Proposition 12’s requirements.”
Am. Pet. ¶¶ 97, 101. But critically, Plaintiffs do not allege that Proposition 12 has actually
prevented them from selling their products. Instead, Plaintiffs seemingly ask the Court to assume
that they will at some point in the future. But this sort of conjecture is precisely what the Supreme
Court has said is insufficient. Summers, 555 U.S. at 497-98. Third, Farm Plaintiffs have also failed


                                                 9

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 16 of 28
II.    IOWA COURTS LACK PERSONAL JURISDICTION OVER DEFENDANTS BECAUSE NO
       JURISDICTIONAL CONTACTS CAN BE SHOWN AND BECAUSE IT IS NEITHER FAIR
       NOR CONVENIENT FOR CALIFORNIA TO BE HALED INTO IOWA COURT.
       The petition also should be dismissed for lack of personal jurisdiction over Defendants

       A.    Legal Standard—Personal Jurisdiction
       Federal Rule of Civil Procedure 12(b)(2) permits a pre-answer motion to dismiss for “lack

of personal jurisdiction.” Plaintiffs bear the burden of proving jurisdiction is proper. Burlington

Indus., Inc. v. Maples Indus., Inc., 97 F.3d 1100, 1102 (8th Cir. 1996). A federal district court

generally may assert personal jurisdiction over a defendant who would be subject to jurisdiction in

state court in the state where the district court is located (Fed. R. Civ. P. 4(k)(1)(A)) so long as

such exercise is consistent with the Fourteenth Amendment due process principles (Dever v.
Hentzen Coatings, Inc., 380 F.3d 1070, 1072 (8th Cir. 2004)). “To survive a motion to dismiss for

lack of personal jurisdiction, a plaintiff must state sufficient facts in the complaint to support a

reasonable inference that the defendants can be subjected to jurisdiction within the state.” Id.

(quotation marks and citation omitted). “Once jurisdiction has been controverted or denied, the

plaintiff has the burden of proving such facts.” Id. at 1072–73 (citations, internal quotation marks,

and alterations omitted). A finding of jurisdiction cannot rest on conclusory allegations. See, e.g.,

Second Amendment Found. v. U.S. Conference of Mayors, 274 F.3d 521, 524 (D.C. Cir. 2001);

Ecclesiastical Order of the Ism of Am, Inc. v. Chasin, 845 F.2d 113, 116 (6th Cir. 1988).



to sufficiently allege the harm required for standing. Under Article III, a plaintiff must establish
the following three elements: (1) an injury in fact; (2) a causal connection; and (3)
redressability. The alleged “injury in fact” must be “concrete and particularized” and “actual, or
imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560. The conjectural and
hypothetical allegations that unidentified “Iowa pork producers cannot realistically…come into
compliance on or before December 31, 2021, and will thus be forced to harvest their breeding
pigs…or …to forego one of the largest pork consumption markets” due to enforcement of
Proposition 12 are insufficient to allege that any of these Plaintiffs have will suffer a concrete injury
that is sufficiently traceable to and has the requisite causal connection to Proposition 12. Finally,
Plaintiff NGP has been administratively dissolved by the Secretary of State, and has no legal
capacity to sue whatsoever. See RJN Exh. 3 [certificates of administrative dissolution for the two
entities registered as “New Generation Pork, Inc.”].

                                                   10

      Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 17 of 28
      Due Process requires that a defendant have certain minimum contacts with the forum state,

so that the defendant has fair warning of the possibility of suit in a foreign jurisdiction, and can

reasonably anticipate being haled into court to defend itself there. Burger King Corp. v. Rudzewicz,

471 U.S. 462, 474 (1985). Iowa state law “authorizes the widest exercise of personal jurisdiction

allowed by the Due Process clause.” Sioux Pharm. Inc. v. Summit Nutritionals Int’l, 859 N.E.2d

182, 188 (Iowa 2015).6

      B.    Plaintiffs Cannot Establish Defendants Have the Requisite Minimum
            Contacts with Iowa or That Exercise of Personal Jurisdiction Otherwise
            Comports with Due Process
      Under both the Due Process Clause and the apparently coextensive Iowa long-arm statute,

the exercise of personal jurisdiction by an Iowa court over these Defendants would be improper.

Here, because Defendants are named only in their official capacities, personal jurisdiction must be
examined in light of Defendants’ actions as representatives of the State of California, not as

individual defendants. See, e.g., Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989) (“[A] suit

against a state official in his or her official capacity is not a suit against the official but

rather …against the official’s office. As such, it is not different from a suit against the State

itself.”). Plaintiffs do not and cannot allege the requisite minimum contacts between the State of

California and the forum state. Even if they could, the exercise of jurisdiction over California in

Iowa does not comport with Due Process.
      The minimum contacts requirement may be met in two ways: through general jurisdiction,

requiring that the defendant has conducted “substantial, or continuous and systematic” activities

within the forum state; or through specific jurisdiction, requiring that the controversy have arisen

out of the defendant’s actions within the forum state, depending on the quality and nature of its

contacts with the forum state. Helicopteros Nacionales de Colombia v. Hall, 466 U.S. 408, 414 n.8


6 Plaintiffs assert jurisdiction under Iowa Code § 617.3. Am. Pet. ¶ 42. But section 617.3’s plain
language does not include state governments (or agencies) within its ambit. Iowa Code § 617.3
(referencing “foreign corporations” and “nonresident persons”). Because Iowa’s long-arm
statute does not reach Defendants, it provides an additional basis for dismissal.

                                                  11

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 18 of 28
(1984). Plaintiffs here cannot make the required showing under either standard.

              1.   The Court Lacks General Jurisdiction Over Defendants
      General jurisdiction is proper only if a defendant’s contacts are “so continuous and

systematic as to render [it] essentially at home in the forum State.” Daimler AG v. Bauman, 134

S. Ct. 746, 754 (2014). But here, Defendants have no continuous and systematic contacts with the

State of Iowa and it would be a contradiction in terms to find California “essentially at home” in

Iowa. In any event, Plaintiffs appear to allege only specific jurisdiction. See Am. Pet. ¶ 41 (“This

Court has jurisdiction…because [Defendants’] acts were aimed at Iowa.”).

              2.   The Court Lacks Specific Jurisdiction Over Defendants
      Minimum contacts establishing specific jurisdiction exist where “the defendant has

purposefully directed his activities at residents of the forum and the litigation results from alleged
injuries that arise out of or relate to those activities.” Burger King Corp., 471 U.S. at 472-73

(internal quotes and citations omitted).

      The Eighth Circuit Court of Appeals instructs courts to consider five factors in assessing

whether personal jurisdiction may be constitutionally exercised over a defendant. Land–O–Nod

Co. v. Bassett Furniture Indus., 708 F.2d 1338, 1340 (8th Cir. 1983). Those factors are: (1) the nature

and quality of [the defendant’s] contacts with the forum state; (2) the quantity of such contacts;

(3) the relation of the cause of action to the contacts; (4) the interest of the forum state in providing
a forum for its residents; and (5) the convenience of the parties. Guinness Import Co. v. Mark VII

Distribs., Inc., 153 F.3d 607, 614 (8th Cir. 1998); Dever, 380 F.3d at 1073–74. The first three factors

are the most important. Dakota Indus., Inc. v. Dakota Sportswear, Inc., 946 F.2d 1384, 1390 (8th

Cir. 1991).

                   a.    The Eight Circuit’s primary three factors weigh against a
                         finding of personal jurisdiction

                         (1)    The analysis of direct contacts weighs against a finding of
                                personal jurisdiction
      Simply put, Defendant have no contacts with the forum state:
       •      California is not an Iowa resident, is not physically present in Iowa, and has not

                                                   12

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 19 of 28
consented to suit in Iowa related to the causes of action.

       •     Plaintiffs do not allege any fact connecting California to Iowa, much less that

Defendants purposefully directed their activities at residents of Iowa.

       •     Plaintiffs do not allege that Defendants ever wrote to or communicated with anyone in

Iowa or took an enforcement or other action in Iowa.

       •     Defendants have not purposefully availed themselves of the privilege of conducting

activities within Iowa or invoked the benefits and protections of Iowa’s laws.

      Defendants’ lack of physical presence in Iowa and complete lack of contacts with Iowa weigh
strongly against a finding of jurisdiction in Iowa under the first three of the five factors. See, e.g.,

Bell Paper Box, Inc. v. Trans W. Polymers, Inc., 53 F.3d 920, 922 (8th Cir. 1995) (finding

corporation’s lack of physical presence in forum state weighed against exercise of jurisdiction); Soo
Line R.R. Co. v. Hawker Siddeley Can., Inc., 950 F.2d 526, 530 (8th Cir. 1991) (holding defendants’

lack of contacts with forum state easily overrode any other interests that may have favored a finding

of jurisdiction).

                         (2)   The Supreme Court’s “Effects Test” weighs against a
                               finding of personal jurisdiction

      Where it is alleged that tortious activity in a foreign state resulted in harm in the forum state,

the “Effects Test” of Calder v. Jones, 465 U.S. 783 (1984), may be incorporated into the first three
factors of the Eighth Circuit’s five-part test described above. Johnson v. Arden, 614 F.3d 785, 795-

97 (8th Cir. 2010). Application of this test likewise confirms this Court lacks personal jurisdiction

over Defendants.

      The Effects Test provides:

      A defendant’s tortious acts can serve as a source of personal jurisdiction only where
      the plaintiff makes a prima facie showing that the defendant’s acts (1) were intentional,
      (2) were uniquely or expressly aimed at the forum state, and (3) caused harm, the brunt
      of which was suffered—and which the defendant knew was likely to be suffered—[in
      the forum state].
Id. at 796 (quoting Lindgren v. GDT, LLC, 312 F. Supp. 2d 1125, 1132 (S.D. Iowa 2004). This
“allows the assertion of personal jurisdiction over non-resident defendants whose acts are

                                                  13

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 20 of 28
performed for the very purpose of having their consequences felt in the forum state.” Id. (quoting

Dakota Indus., Inc., 946 F.2d at 1390-91. “[‘Effects’-based personal] jurisdiction is rare.” Stroman

Realty, Inc. v. Wercinski, 513 F.3d 476, 486 (5th Cir. 2008). None of the elements of the Effects

Test are met here.

      First, any harm to Plaintiffs was not intentional. Proposition 12, as shown by Plaintiffs’

factual allegations, is intended to protect farm animals from cruel confinement. Am. Pet. ¶¶ 55-56

(noting proponents’ claims of “wins for animals” and similar statements). And there certainly is

no evidence that it was intended to hurt Iowa.
      Second, relatedly, there is no evidence that Proposition 12 targeted Iowa. It is not enough

that Iowan Plaintiffs may feel effects of Proposition 12 in Iowa. Rather, Defendants’ alleged

tortious activity must have been “uniquely or expressly aimed at the forum state” in particular,
and for the very purpose of having consequences in the forum state, to satisfy the second element

of the Effects Test. See, e.g., Stroman, 513 F.3d at 486; Johnson, 614 F.3d at 798 (although plaintiffs

operated in Missouri, Effects Test not satisfied because tortious acts were directed at plaintiffs,

but not at Missouri). Plaintiffs have not made—and cannot credibly make—any such allegations.

      California’s regulation of activity occurring within its state (here, the sale of pork) does not

show the requisite targeting. Rather, there is no dispute that Proposition 12’s requirements apply

equally to pork sold from farms in all 50 states. Such regulation cannot be the basis for personal
jurisdiction over California nationwide, because California could not reasonably anticipate being

haled into court in every state. See Calder, 465 U.S. 783, 790; see also B&G Products Co. v. Vacco,

No. Civ. 98-2436 ADM/RLE, 1999 WL 33592887, at * 4 (D. Minn. Feb. 19, 1999) (employing

Eighth Circuit contacts test; “By merely regulating a Minnesota-based company, New York has

not subjected itself to lawsuit in the home state of one of its many regulatory targets.”); Hicks v.

Assistant Atty. Gen. of Colorado, No. 08-0362-CV-W-FJG, 2010 WL 5067611 (W.D. Mo. Dec. 6,

2010) (similar).

      While a conspiracy on the part of out-of-state defendants to specifically deprive Iowans of
their constitutional rights could theoretically support a finding of jurisdiction, no credible

                                                  14

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 21 of 28
allegation of such a conspiracy is present here. As in McCabe v. Basham, 450 F. Supp. 2d 916 (N.D.

Iowa 2006), Plaintiffs’ conclusory “chain of assumptions” leading to California’s supposed focus

on harming Iowa in particular, a chain wherein “facts are noticeably absent,” does not make out a

prima facie case for personal jurisdiction. Id. (finding no personal jurisdiction over federal

government department heads sued in their individual capacities). In McCabe, the court reviewed

the complaint and found no allegations of any facts that would connect the federal government

officials to Iowa. 450 F. Supp. 2d at 924. The court found instead that the allegations of conspiracy

to harm Iowans were conclusory and the plaintiffs’ “chain of assumptions,” i.e., that “because
there was a nationwide policy” it must have come from top level officials, did not make a prima

facie case. Id. at 925-26. Likewise, Plaintiffs here allege no facts connecting the State of

California—defendant state officials having been named in their official capacities—to Iowa.
Rather, Plaintiffs allegations that Proposition 12 was aimed at Iowa are based on the mere

assumption that, because Iowa has, allegedly, the most breeding pigs in the country, Proposition

12 must have been expressly aimed at Iowa. This assumption does not pass muster. As the Fifth

Circuit explained in response to plaintiff Stroman Reality’s allegation that Texas was the locus for

jurisdiction because the Arizona real estate commissioner’s regulatory actions were felt there:

      If the court adopted the approach urged by Stroman, we would endorse an
      interpretation of personal jurisdiction under which…any state official seeking to
      enforce her state’s laws [] could potentially be subjected to suit in any state where the
      validity of her state’s laws were in question. We are unwilling to establish such a broad
      principle.
Stroman, 513 F.3d at 485-87.

      And critically, there is no allegation that Proposition 12 will be enforced in Iowa, nor would

it be credible if there were. Plaintiffs’ doublespeak allegations regarding pork being “sold into”

California (see, e.g., Am. Pet. ¶¶ 33, 66) do not show that Proposition 12 creates a direct connection

to Iowa pork producers—selling pork that ends up in California is not the same as selling pork in

California. And even if it were, there is no indication (or allegation) that any enforcement would

occur in Iowa. Not as much as a letter has been sent to Iowa, nor has any other communication or
enforcement attempt been alleged, despite the implication that sale of Farm Plaintiffs’ pork,

                                                 15

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 22 of 28
currently—if sold in California—would violate Proposition 12 due to their pigs’ confinement

situation. See id. ¶ 65 (“The Turn Around Requirements are arguably already in effect”). In

contrast to Plaintiffs’ unfounded insinuations, their allegations of actual facts regarding statements

made by the sponsors of Proposition 12 confirm that its effects were intended to reach out-of-state

production of meat sold in California nationwide—not in Iowa in particular. Id. ¶ 53-57. Indeed,

not one of the actual facts alleged specifically mentions Iowa. Like Arizona in Stroman, California

simply seeks to uniformly apply its laws to activities that reach California—irrespective of the

origin of such activities. California’s laws regulate products sold within its borders without
reference to geography. 513 F.3d at 486-87.

      Finally, turning to the third element of the Effects Test, just as Plaintiffs have not and cannot

make out a prima facie case that California expressly aimed tortious acts at Iowa, Plaintiffs cannot
credibly allege that California’s acts caused, or will cause, harm, the brunt of which will be suffered,

and is likely to be suffered, in Iowa. In determining where injury occurred for jurisdictional

purposes, actual injury must be distinguished from its resultant consequences, such as pain and

suffering, economic effects, or other “collateral consequences” that often stem from actual injury.

See Jobe v. ATR Mktg., Inc., 87 F.3d 751, 754 (5th Cir. 1996). Plaintiffs’ alleged harms are collateral

consequences of Proposition 12, not actual injuries relevant to the jurisdictional analysis. Thus, not

one of the three elements of the Effects Test is satisfied, and like the primary three factors of the
five-factor test described above, its application weighs entirely against a finding of personal

jurisdiction. That alone requires dismissal of this case.

                   b.    The Eighth Circuit’s final two factors do not support a finding
                         of personal jurisdiction

      The fourth and fifth factors of the Eighth Circuit test likewise do not support a finding of

personal jurisdiction. The fourth factor is the interest of the forum state in providing a forum for

its residents, but “[t]he state of Iowa’s strong interest in protecting Iowa residents from

damage…does not…outweigh all of the primary factors.” See Signature Holding Co. v. City of
Kimberling City, Missouri, 3:10-cv-00129, 2011 WL 13119100 (S.D. Iowa Mar. 3, 2011; cf. PTI, Inc.

                                                  16

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 23 of 28
v. Philip Morris Inc., 100 F. Supp. 2d 1179 (C.D. Cal. 2000) (“California has little interest in

adjudicating disputes over other states’ statutes.”); Omaha Tribe of Nebraska v. Barnett, 245 F.

Supp. 2d 1049, 1055 (D. Neb. 2003) (“Federal judges sitting in their respective states will be better

able to construe their respective laws[.]”). Here, Iowa has no particular interest in adjudicating

another state’s generally applicable law—and Plaintiffs do not—and cannot allege otherwise.

        The fifth factor, the convenience of the parties weighs against a finding of jurisdiction,

because the inconvenience to a government entity of suing its top official in a foreign state

outweighs the inconvenience to individual plaintiffs. Simon Fire Equip. & Repair, Inc. v. Town of
Cloverdale, Indiana, No. C05-1051-LRR, 2006 WL 156740, at *6 (N.D. Iowa Jan. 20, 2006).

Plaintiffs remain free to raise their concerns in California courts where Proposition 12 is the law.

Indeed, other entities, including NPPC, of which Plaintiffs are either constituent entities or
members, have done just that, and Plaintiffs’ claims are currently being litigated in the Ninth

Circuit and United States Supreme Court. In sum, application of the five-factor test confirms this

Court lacks personal jurisdiction over Defendants in Iowa, and the case should be dismissed.

III.    VENUE IS IMPROPER IN IOWA AND THE CASE SHOULD BE DISMISSED; IN THE
        ALTERNATIVE, THE CASE SHOULD BE TRANSFERRED TO CALIFORNIA OR STAYED
        PENDING RESOLUTION OF THE DUPLICATIVE, EARLIER-FILED CASES
        As an initial matter, venue is improper because the Court lacks personal jurisdiction over

Defendants. Atl. Marine Const. Co., Inc. v. U.S. Dist. Court for W. Dist. of Tex., 134 S. Ct. 568
(2013). On that basis, the case should be dismissed.

        Should the Court find that subject matter and personal jurisdiction exist and sovereign

immunity does not bar suit, the Court should exercise its discretion under 28 U.S.C. § 1404 to

transfer the matter to California for fairness, convenience, and efficiency. Leroy v. Great Western

United Corp., 443 U.S. 173, 183-184 (1979) (explaining the multiple reasons venue is most

appropriate in the state whose statute is being challenged).

        The district court has discretion to evaluate motions for transfer of venue according to an

“individualized, case-by-case consideration of convenience and fairness.” Van Dusen v. Barrack,
376 U.S. 612, 622 (1964) (applying 28 U.S.C. § 1404(a)). The court has discretion to consider any

                                                 17

       Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 24 of 28
factor in evaluating whether a transfer is appropriate. See, e.g., Wells Fargo Fin. Leasing, Inc. v.

Orlando Magic Ltd., 431 F. Supp. 2d 955, 966 (S.D. Iowa 2006) (listing factors and quoting Terra

Int’l, Inc. v. Mississippi Chem. Corp., 119 F.3d 688, 691 (8th Cir. 1997)). “Convenience” factors

include, not only the convenience of the parties, but the location where the conduct complained of

occurred. Id. “Somewhat overlapping [] factors implicating the interest of justice include: []

judicial economy,…each party’s ability to enforce a judgment,…and the advantages of having a

local court determine questions of law.” Id. All these weigh in favor of transfer to a district court

in California—where litigation challenging Proposition 12 is already pending.

      A.     Convenience of Parties Weighs in Favor of Transfer
      As mentioned above, the burden on Defendants of an out-of-state suit weighs much more

heavily than that on Plaintiffs, because Defendants are heads of agencies of the State of California.
Haling them into court in Iowa not only inconveniences them, but hampers the administration of

government of the State of California. See, supra, II.B.2.b. (citing Simon Fire Equip. & Repair, Inc.,

2006 WL 156740, at *6). Additionally, no behavior complained of has occurred in Iowa, nor are

there allegations that any tortious action will occur in Iowa in the future. These factors, which

implicate public rather than private interest, weigh heavily against venue in Iowa. Cf. Am. Littoral

Soc. v. E.P.A., 943 F. Supp. 548, 549 (E.D. Pa. 1996) (stating the court must also balance some of

the public and private interests at stake in addition to the elements of convenience and fairness set
out in the statute).

      B.     Interests of Justice Weigh in Favor of Transfer
      The interests of justice, another “public interest” factor (as applied to this case), also favor

transfer to a California court because Plaintiffs’ claims hinge on the interpretation and possible

enforcement of California law.

      As a general matter, California courts are better equipped to interpret California law. In

Leroy, the U.S. Supreme Court held that venue was improper in Texas in an action involving an

Idaho statute where the basis of the federal claim was future action that may be taken by Idaho
officials to punish or remedy the violation of Idaho law. The court noted, “the nature of the action

                                                 18

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 25 of 28
challenging the constitutionality of a state statute made venue in the District of Idaho appropriate.”

Leroy, 443 U.S. at 186.

      The merits of Great Western’s claims may well depend on a proper interpretation of
      the State’s statute, and federal judges sitting in Idaho are better qualified to construe
      Idaho law, and to assess the character of Idaho’s probable enforcement of that law,
      than are judges sitting elsewhere.
Id. (rejecting reasoning that would subject Idaho officials to suit in every district in the country.)

      Further, judicial economy and the order in which the district courts obtained jurisdiction

likewise weigh heavily in favor of transfer, because duplicative cases are already pending in

California. See, e.g., Gary W. Clem, Inc. v. Seed Research Equip. Sols., Inc., No. 4:09-cv-00357-JAJ,

2010 WL 11509069, *1 (S.D. Iowa Jul. 6, 2010) (“first-to-file rule is a generally recognized doctrine
of federal comity which permits a district court to transfer a case to a sister court so that all issues

can be resolved in the same forum”). Relatedly, litigating this case in Iowa may raise concerns not

present in California about the enforceability of the judgment. See Terra Int’l, Inc., 119 F.3d at 691.

      Finally, although Plaintiffs claim they will be affected by the outcome of this suit, millions of

California citizens voted for this law and have an interest in the outcome of this case as well. Cf.

Am. Littoral Soc., 943 F. Supp. at 550. Further, and by Plaintiffs’ own admission, Californians

represent 13-15% of the pork consumption market. They have a great interest in the outcome of

litigation passing on the constitutionality of their animal cruelty prevention act.

      C.    In the Alternative, the Case Should be Stayed Pending Resolution of
            Related, Pending Litigation in California

      If the Court declines to dismiss or transfer the case for the reasons described above, it should

exercise its discretion to stay the matter pending resolution of prior-filed, related litigation pending

in California federal courts. Such a stay is consistent with the principles of judicial economy and

comity, and would best promote the interests of the parties and conserve the court’s resources.

“In order to ‘promote efficient use of judicial resources’ and prevent conflicting rulings, a district

court has broad discretion to stay, transfer or ‘decline jurisdiction over an action when a complaint
involving the same parties and issues has already been filed in another district.’” Honkamp Krueger


                                                  19

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 26 of 28
Fin. Servs, Inc. v. Fulton, No. C20-1018-LTS, 2020 WL 8225446, at *2 (N.D. Iowa, June 5, 2020)

(quoting Orthmann v. Apple River Campground, Inc., 765 F.2d 119, 121 (8th Cir. 1985)).

      In Honkamp, this Court applied the first-filed rule to defer the resolution of the parties’

disputes to the District of Minnesota, and, noting its discretion to dismiss, transfer, or stay the

case, stayed the matter indefinitely pending the outcome of the Minnesota proceedings. Id. at *7.

Although the circumstances surrounding this case and the related litigation pending in California

present a stronger basis for dismissal or transfer, Honkamp confirms that, in the event this Court

concludes it has jurisdiction, it should—at a minimum—exercise its discretion to stay the matter
pending resolution of the California actions.

                                          CONCLUSION

       Defendants respectfully request this matter be dismissed for two independent reasons: (1)

sovereign immunity bars suit against Defendant California state officials in federal court; and (2)

Plaintiffs have failed to make allegations of specific facts establishing jurisdiction in Iowa over

Defendant California state officials. Even if such allegations had been made, the exercise of

jurisdiction would violate both the Iowa long-arm statute and the Due Process Clause, because

Plaintiffs cannot show Defendants have the requisite minimum contacts with Iowa. In the

alternative, Defendants respectfully request the Court exercise its discretion to transfer the matter

to a district court in California, where duplicative constitutional challenges are pending; or stay the

case pending the completion of the earlier-filed matters.




                                                  20

    Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 27 of 28
                     Certificate of Service                        Respectfully Submitted,
The undersigned certifies that the foregoing instrument was
served upon the parties to this action by serving a copy upon      ROB BONTA, State Bar No. 202668
each of parties listed as receiving notice on June 25, 2021, by    Attorney General of California
CM/ECF.                                                            BENJAMIN M. GLICKMAN, State Bar No. 247907
                                                                   Supervising Deputy Attorney General
/s/ Adam D. Zenor
                                                                   By: /s/ Marla R. Weston
Copy to:                                                           MARLA R. WESTON, State Bar No. 209460
Marnie A. Jensen                                                       Deputy Attorney General
Ryann A. Glenn
HUSCH BLACKWELL LLP
                                                                       1300 I Street, Suite 125
13330 California Street, Suite 200                                     P.O. Box 944255
Omaha, NE 68154                                                        Sacramento, CA 94244-2550
Telephone: (402) 964-5000                                              Telephone: (916) 210-7763
Facsimile: (402) 964-5050                                              Fax: (916) 324-8835
marnie.jensen@huschblackwell.com                                       E-mail: Marla.Weston@doj.ca.gov
ryann.glenn@huschblackwell.com
                                                                  ZENOR KUEHNER, PLC
Eldon L. McAfee
Julie L. Vyskocil
Erin C. Herbold
                                                                  By: /s/ Adam D. Zenor
BRICK GENTRY, P.C.                                                   Adam D. Zenor, AT0009698
6701 Westown Parkway, Suite l 00
West Des Moines, IA 50266                                              111 East Grand Avenue, Suite 400
Telephone: (515) 271-5916                                              Des Moines, IA 50309
Facsimile: (515) 274-1488                                              Telephone: 515/650-9005
eldon.mcafee@brickgentrylaw.com                                        Fax: 515/206-2654
julie.vyskocil@brickgentrylaw.com
                                                                       E-mail: adam@zenorkuehner.com
erin.herbold@brickgentrylaw.com

Attorneys for Plaintiffs                                          Attorneys for Removing Parties Rob Bonta, in his
                                                                  official capacity as Attorney General of California;
                                                                  Karen Ross, in her official capacity as Secretary of the
                                                                  California Department of Food and Agriculture; and
                                                                  Tomás Aragón, in his official capacity as Director of the
                                                                  California Department of Public Health




                                                                  21

     Case 3:21-cv-03018-CJW-MAR Document 10-1 Filed 06/25/21 Page 28 of 28
